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                       Exhibit 11
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 13:55

             Jiawei Wang, Jerry, Yueting Jia Nephew, in charge of financing &
                                             HR N

                                      Jan 22, 2018 14:51

                                   They arranged to arrive at the company at 2pm
                                   this afternoon. I can either accompany them on
                                   the visit or not participate in the visit. It
                                   depends on the convenience of your time.

                                       Jan 22, 201815:09

            Thank you, manager Liu, for accepting my
            modifications to the Employment Agreement. I
            no longer have any issues with this agreement.
            Ultimately the HR director DG will need to
            review it. If he also does not have any other
            issue with it, we can then finalize it. I have sent
            you    the      Share    Transfer      Agreement
            modification. We can briefly discuss it this
            afternoon.

            It is up to you. Since you have already seen the
            company, if you think it is unnecessary to
            accompany them, how about we meet at 2pm
            this afternoon?

                                       Jan 22, 201815:44

                                   We'll arrive at the company at 2pm this
                                   afternoon. I guess we will be there the whole
                                   afternoon. Let’s just find a convenient time to
                                   meet up in a little bit.



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                                 #:3612


                          DECLARATION AND CERTIFICATION


    We, Ko & Martin - Certified Interpreters and Translators, declare that we are

    (P)    Certified Court Interpreters as described in GC68565

    We are certified to interpret and translate from the Chinese language to the English
    language and from the English language to the Chinese language.

    We further declare that we have translated the attached document from the Chinese
    language to the English language.

    We declare to the best of our abilities and belief, that this is a true and accurate
    translation of the Chinese language text of the 3 pages of text messages as described
    below.



                              Specific Description of the Document

       1. 01222018 Wang of FF Message re FF HR Dept. Review of Liu EA
       2. 01252018 Wang of FF Message re FF Legal Review & HR Approval of Liu
          Agreement
       3. 01262018 Wang of FF Message re Vijay Sekhon of Sidley Austin has been
          reviewing agreements


    We declare under penalty of perjury under the laws of the State of California that the
    foregoing is true and correct.

    This declaration is signed this 5th of April 2021 in Los Angeles, California.



    Lingling Men Martin
    President
    Ko & Martin - Certified Interpreters and Translators




    Signature



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